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 5   MICHELLE TRUONG

 6
                                        UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRUCT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                                       Case No. 12-CR-00049 - GEB
 9
                                              Plaintiff,
10                                                                   STIPULATION AND ORDER
                                     v.
                                                                     AMENDING CONDITIONS
11
                                                                     OF RELEASE
12   MICHELLE TRUONG
13
                                            Defendant.
14

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16         Defendant Michelle Truong, by and through her counsel of record and AUSA Todd Pickles
17   hereby stipulate as follows:
18         The parties stipulate, as does U.S. Pretrial Services (please see attachment) and request that the
19   Court modify and amend defendant Michelle Truong’s conditions of release to change her curfew time
20   as indicated and recommended by Pretrial Services with all other terms and conditions of release to
21   remain in full force and effect.
22   IT IS SO STIPULATED.
23   DATED:      May 12, 2016       /s/Todd Pickles TODD PICKLES
24   Assistant United States Attorney
25   DATED:      May 12, 2016       /s/Paul M. Dennison
26   Attorney for Michelle Truong.
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                 SECOND AMENDED SPECIAL CONDITIONS OF RELEASE
 1
                                                              Re: Michelle Truong
 2
                                                              No.: 2:12-CR-0049-TLN
 3                                                            Date:May 11, 2016
     1. You shall report to and comply with the rules and regulations of the Pretrial Services Agency;
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     2. You shall report in person to the Pretrial Services Agency on the first working day following
 5      your release from custody;
 6   3. You are to reside at a location approved by the pretrial services officer and not move or absent
        yourself from this residence for more than 24 hours without the prior approval of the pretrial
 7      services officer;

 8   4. You shall cooperate in the collection of a DNA sample;
     5. Your travel is restricted to the Northern and the Eastern Districts of California and the District of
 9      Hawaii unless otherwise approved in advance by the pretrial services officer;
10   6. You shall not obtain a passport or other travel documents during the pendency of this case;
11   7. You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon;
        additionally, you shall provide written proof of divestment of all firearms/ammunition currently
12      under your control;
13   8. You shall seek and/or maintain employment and provide proof of same as requested by your
        pretrial services officer;
14   9. You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
15      substance without a prescription by a licensed medical practitioner; and you shall notify Pretrial
        Services immediately of any prescribed medication(s). However, medicinal marijuana,
16      prescribed or not, may not be used;

17   10. You shall submit to drug and/or alcohol testing as approved by the pretrial services officer. You
         shall pay all or part of the costs of the testing services based upon your ability to pay, as
18       determined by the pretrial services officer;

19   11. You shall participate in a program of medical or psychiatric treatment, including treatment for
         drug or alcohol dependency, as approved by the pretrial services officer. You shall pay all or part
20       of the costs of the counseling services based upon your ability to pay, as determined by the
         pretrial services officer;
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     12. You shall not associate or have any contact with any co-defendants in this case unless in the
22       presence of counsel or otherwise approved in advance by the pretrial services officer;
     13. You shall report any contact with law enforcement to your pretrial services officer within 24
23
         hours;
24   14. You shall participate in the following location monitoring program component and abide by all
         the requirements of the program, which will include having a location monitoring unit installed
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         in your residence and a radio frequency transmitter device attached to your person. You shall
26       comply with all instructions for the use and operation of said devices as given to you by the
         Pretrial Services Agency and employees of the monitoring company. You shall pay all or part of
27       the costs of the program based upon your ability to pay, as determined by the pretrial services
         officer; and,
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        15. CURFEW: You shall remain inside your residence every day from 10:00 p.m. to 6:00 a.m., or
 1          as adjusted by the pretrial services officer for medical, religious services, employment or court-
 2          ordered obligations.

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                                                    ORDER
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               IT IS SO FOUND AND ORDERED .
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     Dated: May 13, 2016
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